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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK

SARAH PALIN, an individual,

                    Plaintiff,                 No. 17 Civ. 4853
      – against –
                                               Hon. Jed S. Rakoff
THE NEW YORK TIMES COMPANY,
a New York corporation, and                    ECF Case
JAMES BENNET, an individual,

                    Defendants.



                                 NOTICE OF APPEAL

      NOTICE IS HEREBY GIVEN that Sarah Palin, Plaintiff in this case, hereby

appeals to the United States Court of Appeals for the Second Circuit from the Final

Judgment entered in this action on April 28, 2025 [Doc. 245] (“Final Judgment”),

inclusive (without limitation) of the April 22, 2025 Jury Verdict [Doc. 241] and any

and all interlocutory judgments, decrees, decisions, rulings, verdicts, and opinions

that merged into and became part of the Final Judgment, that are related to the Final

Judgment, and upon which the Final Judgment is based.
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           Notice of Pending Motions Under Rule 4(A) Fed. R. App. P.

       Pursuant to Second Circuit Local Rule 4.2, Plaintiff hereby provides notice that

on May 23, 2025, Plaintiff filed motions for a new trial and to set aside and/or vacate

the Final Judgment and Verdict under Rule 59, Fed. R. Civ. P., and for judgment under

Rules 50(b), Fed. R. Civ. P. See Plaintiff’s Notice of Post-Trial Motions [Doc. 258].

Pursuant to the briefing schedule set by the District Court [see May 22, 2025 Minute

Entry], Plaintiff filed her Memorandum of Law in Support of Post-Trial Motions [Doc.

260] on May 27, 2025. Under Rule 4(a)(4)(A), Fed. R. App. P., the time to file this

Notice of Appeal runs from the entry of the order disposing of the last remaining of

these motions, but Plaintiff is filing this Notice of Appeal within thirty days of the Final

Judgment to ensure preservation of all her appellate rights.            Pursuant to Rule

4(a)(4)(B), Fed. R. App. P. this Notice of Appeal becomes effective when the order

disposing of the last of Plaintiff’s motions [Doc. 258] is entered.



                                              /s/ Shane B. Vogt
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                                              Counsel for Plaintiff
                                              Sarah Palin



                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that the foregoing Notice of Appeal was filed

electronically on the 28th day of May, 2025. Notice of this filing will be sent by

operation of the Court’s electronic filing system to counsel of record for all parties

as indicated on the electronic filing receipt. Parties and their counsel may access

this filing through the Court’s system.

                                                 /s/ Shane B. Vogt
                                                 Attorney for Plaintiff Sarah Palin




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